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5                            UNITED STATES DISTRICT COURT
6                                        DISTRICT OF NEVADA
7                                                   ***
8    UNITED STATES OF AMERICA,                         )      Case No.: 2:12-CR-0004-APG-GWF
                                                       )
9                           Plaintiff,                 )
                                                       )      ORDER
10          vs.                                        )
                                                       )
11   QASIR MUKHTAR, et al.,                            )
                                                       )
12                          Defendants.                )
                                                       )
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15          On June 1, 2013, defendant Qasir Mukhtar filed a Notice of Appeal [Dkt. #376] of this

16   Court’s May 15, 2013 Order [Dkt. #364] denying Mr. Mukhtar’s second motion for pretrial

17   release and affirming the Magistrate Judge’s February 13, 2013 Order directing the continued

18   pretrial detention of Mr. Mukhtar. On June 4, 2013, the United States Court of Appeals for the
19   Ninth Circuit entered its Order suggesting that the Notice of Appeal was not timely. The Ninth
20   Circuit Court remanded the case to this district court for the limited purpose of permitting this
21   Court to provide Mr. Mukhtar notice and an opportunity to request that the time for filing the
22   Notice of Appeal be extended, for a period not to exceed 30 days from the expiration of the time
23   prescribed by Federal Rule of Appellate Procedure 4(b), upon a finding of excusable neglect or
24   good cause. See Fed. R. App. P. 4(b)(4); United States v. Ono, 72 F.3d 101, 103 (9th Cir. 1995);
25   United States v. Stolarz, 547 F.2d 108, 112 (9th Cir. 1976).
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1           Accordingly, on or before June 20, 2013, defendant Qasir Mukhtar shall file a brief
2    demonstrating excusable neglect or good cause, if any exists, which would justify extending the
3    time for filing the Notice of Appeal for a period not to exceed 30 days from the expiration of the
4    time prescribed by Fed. R. App. P. 4(b). The Government shall have 14 days after service of Mr.
5    Mukhtar’s brief in which to file any response.
6           DATED this 6th day of June, 2013.
7
                                                          ____________________________________
8                                                         ANDREW P. GORDON
                                                          UNITED STATES DISTRICT JUDGE
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